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 8
                              UNITED STATES DISTRICT COURT
 9
                             CENTRAL DISTRICT OF CALIFORNIA
10

11

12   CRYTEK GMBH,                              )   Case No. 2:17-CV-08937
                                               )
13              Plaintiff,                     )   [HON. DOLLY M. GEE]
                                               )
14        vs.                                  )   DECLARATION OF JEREMY S.
                                               )   GOLDMAN IN SUPPORT OF
15   CLOUD IMPERIUM GAMES CORP. and            )   DEFENDANTS’ MOTION TO
     ROBERTS SPACE INDUSTRIES CORP.,           )   DISMISS THE FIRST AMENDED
16                                             )   COMPLAINT OR CLAIMS FOR
                Defendants.                    )   RELIEF THEREIN OR, IN THE
17                                             )   ALTERNATIVE, FOR A MORE
                                               )   DEFINITE STATEMENT AND TO
18                                             )   STRIKE CERTAIN PORTIONS OF
                                               )   THE FIRST AMENDED
19                                             )   COMPLAINT
                                               )
20                                             )   Date:      February 9, 2018
                                               )
                                               )   Time:      9:30 AM
21
                                                   Courtroom: 8C
22

23

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25

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     ___________________________________________________________________________________
                DECLARATION OF JEREMY S. GOLDMAN IN SUPPORT OF DEFENDANTS’
                      MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
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Case 2:17-cv-08937-DMG-FFM Document 19-2 Filed 01/05/18 Page 5 of 40 Page ID #:122




                             Exhibit A
           Fully-Executed Game License Agreement between
            Crytek GmbH and Cloud Imperium Games Corp.
                    Dated as of November 20, 2012
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                                  #:137
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                                  #:139
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                                  #:141
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                                  #:143
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                                  #:148




                          Exhibit B
     Fully-Executed Amendment to Game License Agreement
     between Crytek GmbH and Cloud Imperium Games Corp.
                 Dated as of September 4, 2014
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                                  #:149




                                    AMENDMENT # 1
                                    (the “Amendment”)

                               dated as of September 4, 2014


                                            to the
                             GAME LICENSE AGREEMENT
                                     (the "Agreement")
                               dated as of November 20, 2012


                                          between



                                       Crytek GmbH
                                    Grüneburgweg 16-18
                                   60322 Frankfurt/Main
                                          Germany


                                        – "Crytek" –


                                             and


                            Cloud Imperium Games Corporation
                                9255 Sunset Blvd., Ste. 803
                                West Hollywood, CA 90069
                                            USA
                                       – "Licensee" –



                 – Crytek and Licensee hereinafter jointly called "Parties" –
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                                  #:150
 CryEngine CIG License 013-11-05 – Amend #1                                                           p. 2



           WHEREAS the Parties entered into that certain Game License Agreement (the “Agreement”)
           effective as of November 20, 2012 with respect to the ”CryEngine” software, and


           WHEREAS the Parties desire to amend the Agreement as set forth herein;

            NOW, THEREFORE, in consideration of the mutual covenants contained herein the Parties
            hereby agree as follows:


 1.         Definitions

            All capitalized terms herein shall be defined as set forth in the Agreement.


 2.         Amendment to Section 2.1:

            Section 2.1.1 shall be deemed deleted and replaced by the following: “to non-exclusively
            develop, support, maintain, extend and/or enhance CryEngine such right being exclusive only
            with respect to the Game, and non-sub-licensable except as set forth in Sec. 2.5 and 2.6
            below.”


 3.         Amendment to Section 4.1:

            Section 4.1.4 shall be deleted and substituted by the following:


               “Termination of support: Crytek shall be entitled to terminate with one (1) year’s notice
               any support services in the event it ceases generally to provide CryEngine support to third
               parties.”

 4.         Amendment to Section 4:

            The following Sec. 4.2 shall be added to the Agreement:
            “4.2 If and to the extent that Licensee requests specific development work (“Development
            Services)” to be performed for Licensee in connection with the Game beyond the service
            scope provided for in Sec. 4.1 above, such Development Services shall be compensated
            separately and at rates to be negotiated in good faith. Notwithstanding anything else provided
            for in Crytek’s employment agreements with its personnel, all results and proceeds of the
            Development Services rendered by Crytek’s personnel (“Results and Proceeds”) shall be
            considered a work-made-for-hire pursuant to the U.S. Copyright Act with Licensee being the
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                                  #:151
 CryEngine CIG License 013-11-05 – Amend #1                                                             p. 3


            author and owner of such Results and Proceeds. To the extent that any of such Results and
            Proceeds shall be held not to be a “work-made-for-hire” under the U.S. Copyright Act,
            Crytek hereby irrevocably assigns to Licensee the entire copyright and all rights in the
            Results and Proceeds, including the right to exploit and distribute the Results and Proceeds
            throughout the world in perpetuity in any media or embodiment, now known or hereafter
            developed. Sec. 7 (“Reverse Technology Transfer”) below shall apply to the Results and
            Proceeds, to the extent applicable.”


 5.         Amendment to Section 5.3:

            (a) The following clause shall be inserted at the beginning of Sec. 5.3: “Subject to Crytek
                continuing to offer support for the CryEngine to unrelated third parties pursuant to Sec.
                4.1.2.”
            (b) The following clause shall be inserted at the end of Sec. 5.3: “For avoidance of doubt:
                Updates and upgrades shall not be included after the Initial Support Period unless made
                available to other licensees outside of their support period.”


 6.         Amendment to Section 8.2

            The last sentence of Sec. 8.2 shall be deemed deleted and is hereby replaced by the
            following: “In addition, Crytek shall have the right to terminate this Agreement pursuant to
            Section 6.1.2 (iii) above.”


 7.         Closing Provisions

 7.1.       Except as expressly set forth herein, the Agreement shall remain in full force and effect and is
            hereby ratified. This Amendment is governed and construed by the laws of the State of
            California applicable to agreements entered into and to be performed within the State. Place
            of performance and jurisdiction shall be the courts of Los Angeles County.
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                                  #:153




                          Exhibit C
   December 23, 2016 Press Release issued by Cloud Imperium
       Games Corp. and Roberts Space Industries Corp.
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                                  #:154




Document title:            Star Citizen and Squadron 42 Utilize Amazon Lumberyard
                           Game Engine - Roberts Space Industries

Capture URL:               https://robertsspaceindustries.com/comm-link/
                           press/15660-Star-Citizen-And-Squadron-42-Utilize-
                           Amazon-Lumberyard-Game-Engine

Captured site IP:          54.85.161.94

Page loaded at (UTC):      Tue, 02 Jan 2018 20:33:26 GMT

Capture timestamp (UTC):   Tue, 02 Jan 2018 20:34:34 GMT

Capture tool:              v5.3.1

Collection server IP:      52.7.109.102

Browser engine:            Chrome/54.0.2840.99

Operating system:          Microsoft Windows NT 6.2.9200.0 (6.2.9200.0)

PDF length:                4

Capture ID:                ad127f2b-f8b1-4b06-bf4a-591680eea826

User:                      fkks-ndonovan




                                          a3fEaJtZoTnAeQBA1hq7uR
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Capture timestamp (UTC): Tue, 02 Jan 2018 20:34:34 GMT                                                                                     Page 1 of 3
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Capture timestamp (UTC): Tue, 02 Jan 2018 20:34:34 GMT                                                                                     Page 2 of 3
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Capture URL: https://robertsspaceindustries.com/comm-link/press/15660-Star-Citizen-And-Squadron-42-Utilize-Amazon-Lumberyard-Game-Engine
Capture timestamp (UTC): Tue, 02 Jan 2018 20:34:34 GMT                                                                                     Page 3 of 3
